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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

PREMIER SPECIALTY BRANDS                  )
LLC, d/b/a KAMADO JOE,                    )
                                          )
     Plaintiff/Counter-claim Defendant,   )
                                          )   Case No. 1:20-cv-04949-ELR
v.                                        )   JURY TRIAL DEMANDED
                                          )
PHASE 2, LLC,                             )
                                          )
     Defendant/Counter-claim Plaintiff.   )



     PHASE 2, LLC’S OPENING CLAIM CONSTRUCTION BRIEF
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I.    INTRODUCTION

      The Asserted Claims of U.S. Patent No. 10,299,626 (“the ‘626 patent”) are

straightforward and easily comprehended both by a person of ordinary skill in the

art at the time of the invention (“POSITA”) and by a lay person. Counterclaim

Defendant Premier Specialty Brands LLC’s (“Premier”) proffered constructions do

not reflect the plain and ordinary meaning of the disputed claim terms. Rather,

Premier’s constructions are transparent attempts to restrict the scope of the claims to

specific embodiments in the specification in violation of long established precedent

from the Supreme Court and the U.S. Court of Appeals for the Federal Circuit.

      It is black-letter law that the claims of a patent define the invention and that

importing limitations from the specification into the claims as Premier proposes is

improper. See, e.g., Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005)

(en banc). These rules strike the proper balance between using specific embodiments

to teach and enable a POSITA to make and use the invention without limiting the

claims—e.g. the metes and bounds of the patents—to those specific embodiments.

      Phase 2 respectfully submits that Premier’s litigation inspired constructions

are inconsistent with the plain and ordinary meaning of the claims and should be

rejected. Phase 2’s constructions, on the other hand, do not import extraneous

limitations and reflect the plain and ordinary meaning that a POSITA would have



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attributed to the claims in light of the specification. Accordingly, if the Court

determines that any of the disputed claim terms actually require construction, then

Phase 2 respectfully submits that the Court should adopt Phase 2’s constructions. 1   0F




II.   LEGAL STANDARDS

      A.     Claim Construction Generally

      “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the

invention to which the patentee is entitled the right to exclude.’” Phillips, 415 F.3d

at 1312 (internal citation omitted). Claim terms generally should be given their plain

and ordinary meaning, which “is the meaning that the term would have to a person

of ordinary skill in the art in question at the time of the invention[.]” Id. at 1312-13.

In cases where the “ordinary and customary meaning” is clear, claim construction

involves “little more than the application of the widely accepted meaning of

commonly understood words.” Id. at 1314.

      There are only two exceptions to the general rule that claim terms are given

their plain and ordinary meaning: “1) when a patentee sets out a definition and acts

as his own lexicographer, or 2) when the patentee disavows the full scope of a claim

term either in the specification or during prosecution.” Thorner v. Sony Computer



1
 A summary of Phase 2’s proffered constructions is included as Appendix A for the
convenience of the Court.


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Ent. Am. LLC, 669 F.3d 1362, 1364 (Fed. Cir. 2012). “To disavow claim scope, the

specification must contain ‘expressions of manifest exclusion or restriction,

representing a clear disavowal of claim scope.’” Retractable Techs., Inc. v.

Becton, Dickinson & Co., 653 F.3d 1296, 1306 (Fed. Cir. 2011) (emphasis added)

(quoting Epistar Corp. v. Int’l Trade Comm’n, 566 F.3d 1321, 1335 (Fed. Cir.

2009)). Thus, absent “a clear and unmistakable disclaimer,” the plain and ordinary

meaning controls. Cont'l Cirs. LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir.),

cert. denied, 140 S. Ct. 648 (2019).

      A POSITA is “deemed to read [each] claim term … in the context of the entire

patent, including the specification.” Phillips, 415 F.3d at 1313. Courts consider the

claims themselves because “the context in which a term is used in the asserted claim

can be highly instructive,” and “use of a term within the claim provides a firm basis

for construing the term.” Id. at 1314 (citation omitted).

      Courts also look to the specification, which “is always highly relevant.” Id. at

1315. But while “the specification often describes very specific embodiments of the

invention, [the Federal Circuit has] repeatedly warned against confining the claims

to those embodiments.” Id. at 1323. Indeed, even where the specification discloses

only a single embodiment, the Federal Circuit has “expressly rejected the contention

[that] the claims of the patent must be construed as being limited to that


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embodiment.” Cont’l Circuit., 915 F.3d at 979 (quoting Phillips, 415 F.3d at 1323).

See also Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir. 2004)

(“Even when the specification describes only a single embodiment, the claims of the

patent will not be read restrictively unless the patentee has demonstrated a clear

intention to limit the claim scope using ‘words or expressions of manifest exclusion

or restriction.’” (internal citation omitted)).

       “[A] court should also consider the patent’s prosecution history, if it is in

evidence.” Cont’l Circuits, 915 F.3d at 796 (quoting Phillips, 415 F.3d at 1317).

“Like the specification, the prosecution history provides evidence of how the United

States Patent and Trademark Office (‘PTO’) and the inventor understood the patent.”

Id. (quoting Phillips, 415 F.3d at 1317). The Federal Circuit has “cautioned,

however, that ‘because the prosecution history represents an ongoing negotiation

between the PTO and the applicant, rather than the final product of that negotiation,

it often lacks the clarity of the specification and thus is less useful for claim

construction purposes.’” Id. (quoting Phillips, 415 F.3d at 1317).

       In addition to the intrinsic evidence noted above, Courts may also “rely on

extrinsic evidence, which ‘consists of all evidence external to the patent and

prosecution history, including expert and inventor testimony, dictionaries, and

learned treatises.’” Phillips, 415 F.3d at 1317. Although extrinsic evidence can be


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useful, it is “‘less significant than the intrinsic record in determining the legally

operative meaning of claim language.’” Phillips, 415 F.3d at 1317.

      B.     Determining Whether a Claim Term is a “Means Plus Function”
             Limitation

      Means-plus-function claiming occurs when a claim term is drafted in a

manner that invokes 35 U.S.C. § 112, ¶ 6 2, which states:
                                           1F




      An element in a claim for a combination may be expressed as a means
      or step for performing a specified function without the recital of
      structure, material, or acts in support thereof, and such claim shall be
      construed to cover the corresponding structure, material, or acts
      described in the specification and equivalents thereof.

35 U.S.C. § 112, ¶ 6 (emphasis added).

      A claim limitation that does not use the term “means” carries with it a

rebuttable presumption that § 112, ¶ 6 does not apply. See, e.g., Phillips, 415 F.3d at

1310. Premier can overcome that presumption only “if [it] demonstrates that the

claim term fails to ‘recite sufficiently definite structure’ or else recites ‘function

without reciting sufficient structure for performing that function.’” Williamson v.

Citrix Online, LLC, 792 F.3d 1339, 1349 (Fed. Cir. 2015) (internal citation omitted).

The question of whether a challenged claim term invokes section 112, paragraph 6


2
   The America Invents Act (“AIA”), Pub.L. No. 112-29, took effect on
September 16, 2012. Because the applications for the ‘626 patent were effectively
filed before that date, the pre-AIA versions of §§ 102, 103 and 112 control here.


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thus “depends on whether persons skilled in the art would understand the claim

language to refer to structure, assessed in light of the presumption that flows from

the drafter’s choice not to employ the word ‘means.’” Samsung Electronics America

v. Prisua Engin’g Corp., 948 F.3d 1342, 1354 (Fed. Cir. 2020).

III.   LEVEL OF ORDINARY SKILL IN THE ART

       Phase II submits that a POSITA would have at least a bachelor’s degree in

mechanical engineering and at least two-years of industry experience working in the

field of designing and/or manufacturing barbecue grills for cooking or smoking food.

A higher level of work experience could substitute for education and vice versa.

IV.    TECHNICAL BACKGROUND AND THE PATENT-IN-SUIT

       A.    The ‘626 Patent

       The ‘626 Patent generally relates to barbecue grills for cooking and/or

smoking food and, more specifically, to charcoal barbecue grills. ‘626 Patent at

1:18-20. 3 Such grills are commonly available in a variety of configurations, such as
        2F




kettle-style charcoal grills, barrel-style charcoal grills, and kamado-style charcoal

grills. Id. at 1:35-38. The specific embodiments shown in the figures of the ‘626

patent are kamado-style grills. Id. at 5:21-24. Kamado-style grills are generally urn



3
 Citations to the ‘626 Patent (Exhibit 1) are to the column and line number. For
example, a citation to the ‘626 Patent at 1:18-20 refers to column 1, lines 18-20.


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shaped and constructed of clay or other insulating ceramic material. This insulating

effect allows an even cooking process while also being very fuel-efficient.

      Figure 1 of the ‘626 patent shows an example of such a kamado-style grill:

                              As seen, this embodiment has a lower shell 112 and an

                              upper shell 114 emphasized in red. A “fire bowl 128,”

                              e.g. a “vessel configured to hold and burn charcoal for

                              cooking food,” is configured to fit inside the lower

                              shell 112. See id. at Abstract.


      This embodiment further includes a vent system (blue references in Figure 1,

above). The “upper vent” of this vent system is identified with reference number

154 in Figure 1 shown above. The “lower vent” can be located on a “removable

unit” shown as reference 132 in Figure 1, above. A “vent cover” over the lower vent

is adjustable. The further open the vent cover is, the more air can flow into the lower

shell 112 via the “lower vent” and up through the grill to the “upper vent.” This

configuration for the “lower vent” is shown in Figure 8:




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      Figure 5, reproduced immediately below, provides an exploded view of a

kamado-style grill of Figure 1.



                                                      Upper Shell


                                                      Fire Bowl



                                                            Lower Shell



           Opening for Ash
          Drawer to Slide Into
                                                             Ash Drawer




The “removable unit” can be configured to collect the ash resulting from burning

charcoal and/or wood in the fire bowl. Unlike in prior art grills, the “ash drawer

132” of this embodiment in the ‘626 patent “eliminates [the] need to rake the ashes

out of the base … as often required by previous grill designs.” Id. at 6:48-50.

Indeed, the ashes can be removed from the grill via this ash drawer while the grill is

still in use and hot coals remain in the fire bowl.

      This “ash drawer” can slide into and out of an opening 134 in the lower shell.

More specifically, the ash drawer is “configured to slide in a substantially horizontal



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direction into and out of an opening” in the lower shell. ‘626 Patent at 6:31-44.

When slid into the opening in the lower shell, the “ash drawer” will be “located

under the fire bowl to collect the ashes, with the fire bowl acting to funnel the ashes

through a lower opening [in the fire bowl] into the ash drawer.” Id. The “ash

drawer” further has an “external grip” that allows the user to remove the ash drawer

from the grill to dispose of the collected ashes. Id. at 6:44-48.

      B.      The Asserted Claims
      Phase 2 filed its Counterclaim on April 15, 2021 asserting that Premier’s line

of kamado grills that include an ash drawer infringe claims 1-5, 14, 16, 17, and 20-

24 of the ‘626 patent. Dkt. 13. Claim 1, the only independent claim of the ‘626

patent, follows:

      A grill comprising:

           an upper shell;

           a lower shell, the lower shell defining an opening there-through, the upper
           shell and the lower shell together defining a cooking chamber;

           a fire bowl comprising side walls tapered inwardly at a lower portion of
           the fire bowl; the fire bowl being adapted to be spaced inwardly from the
           lower shell and supported above a bottom surface of the lower shell, and
           the lower portion of the fire bowl defining an opening there-through;

           a removable unit sized to be slidably received through the opening in the
           lower shell to position at least one portion of the removable unit under at
           least one portion of the opening in the lower portion of the fire bowl,
           wherein an outer surface of the removable unit defines at least one opening
           for providing airflow into the lower shell during cooking.

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‘626 patent at 10:5-22. Claim 2 requires that the “removable unit” of claim 1 be a

“receptacle,” and claim 3 further limits that receptacle to being an “ash drawer.” Id.

at 10:23-26.

      Claim 4 adds a “grate” to the limitations of claim 3. That grate must be

configured to hold a fuel source (e.g. charcoal or wood) and allow ashes to pass

through the grate and be received by the ash drawer. Id. at 10:27-31.

      Claim 14 includes several individual elements any one of which must be met

to be infringed. The individual element of claim 14 at issue here is the one that

requires the removable unit of claim 1 to include an “external grip for slidably

removing the removable unit from the grill”—i.e. a part that the user can grasp to

slide the removable unit out of the grill. Id. at 10:65-67.

      Claim 16 depends from claim 14 and similarly contains alternative individual

elements with the one at issue here requiring that the “outer surface of the removable

unit” define “at least one opening for providing airflow into the lower shell.” Id. at

10:20-23. Claim 17 depends from claim 1 and requires a vent located on the upper

shell of the grill and “positioned vertically above” an opening in the lower portion

of the fire bowl. Id. at 11:15-18.

      Claim 20 also depends from claim 1 and requires a support for the fire bowl.

Claim 21 requires that the upper and lower shell of the grill of claim 1 be constructed


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from clay, ceramic, refractory material, earthen material, cement rock, or terra cotta

composition.

      Claim 22 requires that: (1) the fire bowl of claim 1 include a floor that defines

an opening through the lower portion of the fire bowl; and (2) at least a portion of

the removable unit be positioned under a portion of the opening in the floor of the

fire bowl. Claims 23 and 24 require, respectively, that the grill of claim 1 have two

cooking surfaces and that one of those cooking surfaces be spaced above the other.

      C.     The Prosecution History of the ‘626 Patent

      The application that issued as the ‘626 patent was filed on December 18, 2018.

Exh. 2. That application was a continuation of other applications filed by the same

inventors, all claiming priority back to a Provisional application filed on May 21,

2010. Id. at 5-6.

      On February 1, 2019, the examiner issued a non-final rejection, asserting that

certain pending claims were anticipated by Scott (U.S. Pub. 2009/0308373) while

others were invalid as obvious over Scott and Crawford (U.S. Pat. No. 6,827,076.)

Id. at 122-125.

      The applicants responded to the February 2019 rejection by amending then-

pending claim 19 to include limitations related to the “removable unit.” Id. at 156-

157. Applicants pointed out that Scott did not “describe or suggest a removable unit



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sized to be slidably received through the opening in the lower shell ….” Id.

Applicants further distinguished the application claims because Crawford does not

include an ash drawer that “include[s] at least one opening for providing airflow into

the lower shell during cooking.” Id. at 159. To the contrary, incorporating the ash

drawer of Crawford “in the opening behind the draft door 22 of Scott the ash drawer

would block the ventilation to the cooking chamber of Scott.” Id.

       The Applicants’ arguments regarding Scott and Crawford overcame the

rejection and on March 28, 2019, the examiner issued a Notice of Allowance. Id. at

164-168.

V.     THE PROPER CONSTRUCTION OF THE DISPUTED CLAIM
       TERMS

       A.    “During Cooking”

     Phase 2’s Proposed Construction          Premier’s Proposed Construction

 No construction required.                   Section 112(6) applies:
 Any proposed definition would simply           Function: creating intended cooking
 be a reordering or restatement of plainly      conditions within the grill
 understood terms                               Structure: lower vent 166
                                             If 112(6) does not apply:
                                             Objectively functioning as claimed
                                             while grill is in use as intended

       Premier’s assertion that the phrase “during cooking” is a means-plus-function

claim element lacks merit. Premier is improperly attempting to use Section 112(6)


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to limit the claims to the specific embodiment of the “ash drawer 132” as depicted

in Figure 1. That embodiment, with the “lower vent 166” highlighted, is shown in

the following figures from the ‘626 patent:




As explained in the ‘626 patent, the function of the “lower vent 166” is to allow

airflow into the lower shell through the “lower vent” and up through the “upper vent

164” during cooking. ‘626 Patent at 7:50-62.

      Premier’s proposed construction is betrayed by the pertinent claim language

in which the phrase “during cooking” appears:

      an outer surface of the removable unit defines at least one opening for
      providing airflow into the lower shell during cooking.




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The words “during cooking” are thus a condition, not a function to be performed,

and so Section 112(6) does not apply. Premier’s attempt to limit the proper scope

of claim 1 should be rejected for this reason alone.

      Further, this term “is presumptively not subject to 112 [paragraph] 6 because

it does not contain the term ‘means.’” Mass. Inst. of Tech. v. Abacus Software, 462

F.3d 1344, 1353 (Fed. Cir. 2006) (quoting CCS Fitness, Inc. v. Brunswick Corp.,

288 F.3d 1359, 1369 (Fed. Cir. 2002)). Premier cannot overcome this presumption.

As stated above, “during cooking” is not a function. The only perceivable “function”

recited in the pertinent claim language is providing airflow into the lower shell. But

the claim already provides the structure to perform this airflow function. To wit, the

underlined language in the following quote from claim 1 is the structure that

performs the italicized function of providing airflow into the lower shell:

      an outer surface of the removable unit [that] defines an at least one opening
      for providing airflow into the lower shell during cooking.”

It would be improper to require a “lower vent” through the construction of the claim

term “during cooking” when the vent is already required by the earlier (underlined)

claim language quoted immediately above.

      Premier’s alternative, non-means plus function construction—”objectively

functioning as claimed while grill is in use as intended”—fares no better. It would

serve only to make the claim confusing to the jury. What follows is the full limitation

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of claim 1 with Premier’s alternative construction for the phrase “during cooking”

substituted and underlined:

      an outer surface of the removable unit defines at least one opening for
      providing airflow into the lower shell during cooking objectively
      functioning as claimed while grill is in use as intended

It follows that the proposed construction is nonsensical and does not clarify the scope

of the claim.

      A POSITA, and the jury, would readily understand the scope of the claim term

“during cooking” without any construction. Accordingly, Phase 2 respectfully

submits that no construction is necessary for this claim term.

      B.        “Fire Bowl”

   Phase 2’s Proposed Construction             Premier’s Proposed Construction
 No construction required.                  “A bowl shaped structure separable
 If the Court determines that a             from the body of the grill having an
 construction is necessary, the term        inner surface capable of retaining fuel
 should be given its plain and ordinary     therein and also having an outer
 meaning:                                   surface”

 “a vessel configured to hold charcoal
 or wood”

      Premier’s proffered construction unnecessarily replaces the term “bowl” with

“a bowl shaped structure.” Further, Premier’s construction improperly seeks to

inject numerous limitations that are not included in the claim and that are not

required to understand the meaning of “fire bowl.”


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      The characteristics of a “bowl” are well-known and readily understood.

Webster’s dictionary defines “bowl” as “a rather deep, round dish or basin, used for

holding liquid, food, etc.” Exh. 3 at 3. This definition is consistent with the usage

of the term “fire bowl” in the ‘626 patent. See ‘626 Patent at, e.g., 6:15-19.

      Moreover, the parties essentially agree that the “bowl” in claim 1 can be used

to hold fuel (i.e. charcoal or wood) during cooking. This, too, is consistent with the

‘626 patent’s description of the embodiment shown in Figures 5-7:

      With reference now to FIGS. 5-7, the illustrated charcoal grill 100 also
      includes a fire bowl 128 configured to be disposed within the vessel
      102 and configured to hold charcoal in the vessel 102 (and allow the
      charcoal to burn) for use in cooking food.

Id. (emphasis added). 4 See also id. at Abstract (“A charcoal grill includes a vessel
                      3F




configured to hold and burn charcoal for cooking food.”) (emphasis added).

Accordingly, if the Court determines that “fire bowl” requires construction, the term

should be given its plain and ordinary meaning: a vessel configured to hold

charcoal or wood.

      The additional terms that Premier seeks to inject (e.g. “separable from the

body of the grill,” “an inner surface” and “an outer surface”), however, are not found



4
  The ‘626 patent explains that “as used herein, the term ‘charcoal’ should be
understood to include wood.” Id. at 4:18-19.


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in the claim. And there is no disavowal of the plain and ordinary meaning of the

term “fire bowl” in the specification that would justify injecting additional

limitations as Premier requests. Premier’s construction should therefore be rejected.

      C.     “adapted to be spaced inwardly from the lower shell”

   Phase 2’s Proposed Construction              Premier’s Proposed Construction
 No construction required.                    Intended to be spaced inside of the inner
                                              surface of the inner wall of the lower
 If the Court determines that a               shell
 construction is necessary, the term
 should be given its plain and ordinary
 meaning:

 “designed to be situated inside”



      This limitation of claim 1 of the ‘626 patent requires that “the fire bowl” be

“adapted to be spaced inwardly from the lower shell.” ‘626 Patent at Claim 1. This

claim language, again, is readily understandable and requires no construction.

      Indeed, the parties’ respective positions on this claim term are largely

consistent. Both constructions require that the “fire bowl” is “situated inside” or

“spaced inside” the lower shell. This is consistent with the plain and ordinary

meaning of the term “inwardly.” See Exh. 3 (Webster’s dictionary) at 4 (“Inwardly:

in or on, or with reference to, the inside or inner part; internally”).




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      But Premier’s proffered construction seeks to add extraneous words that are

unnecessary to clarify the meaning of the disputed claim language. Specifically,

Premier’s construction requires an “inner surface of the inner wall of the lower

shell.” These additional limitations are not in the actual claim language and there is

no basis in the intrinsic record to inject them as Premier requests.

      Accordingly, Phase 2 respectfully submits that, if the Court determines this

claim term requires construction, then the Court should adopt Phase 2’s construction

because it reflects the plain and ordinary meaning of the term: “designed to be

situated inside.”

      D.     “removable unit”

   Phase 2’s Proposed Construction             Premier’s Proposed Construction
 No construction required.                  A unitary box for collecting and/or
                                            cleaning ashes from the grill that may be
 If the Court determines that a             separated from the grill
 construction is necessary, the term
 should be given its plain and ordinary
 meaning:

 “a piece that can be removed”



      The term “removable unit” appears in the following limitation of claim 1 of

the ‘626 patent:

      a removable unit sized to be slidably received through the opening in
      the lower shell to position at least one portion of the removable unit

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      under at least one portion of the opening in the lower portion of the fire
      bowl, wherein an outer surface of the removable unit defines at least
      one opening for providing airflow into the lower shell during cooking

‘626 Patent at Claim 1.     Dependent claim 2 limits the “removable unit” to a

“receptacle.” Id. at Claim 2. The parties agree that “receptacle” as used in claim 2

means “a piece configured to receive and contain something.”           Dkt. 39 at 1.

Dependent claim 3 further limits the “receptacle” of claim 2 to an ash drawer. ‘626

Patent at Claim 3.

      Premier’s proffered construction of “removable unit” seeks to impermissibly

limit claim 1 to the ash drawer of dependent claim 3 in violation of the doctrine of

claim differentiation. “Under the doctrine of claim differentiation, dependent claims

are presumed to be of narrower scope than the independent claims from which they

depend.” AK Steel Corp. v. Sollac and Ugine, 344 F.3d 1234 (Fed. Cir. 2003), citing

RF Del., Inc. v. Pac. Keystone Techs., Inc., 326 F.3d 1255, 1264 (Fed.Cir. 2003)

(stating that an independent claim is usually accorded a scope greater than its

dependent claims). Premier’s narrowing construction of “removable unit” should

therefore be rejected.

      The term “removable unit” is sufficiently clear and no construction of this

term is necessary. If the Court nevertheless determines that “removable unit”




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requires construction, then Phase 2 respectfully submits that the Court should adopt

Phase 2’s construction: “a piece that can be removed.”

      E.     “outer surface of the removable unit,” “at least one opening,” and
             “opening for providing airflow into the lower shell”

    Claim Term            Premier’s Proposed             Phase 2’s Proposed
                             Construction                  Construction
 “outer surface of   No construction required.       An exterior boundary of the
 the removable       Any proposed definition         removable unit situated
 unit”               would simply be a               outside of the lower shell
                     reordering or restatement of
                     plainly understood terms.
 “at least one       No construction required.       An aperture through the
 opening”            Any proposed definition         width of the outer surface of
                     would simply be a               the removable unit
                     reordering or restatement of
                     plainly understood terms.
 “opening for        No construction required.       An aperture through the
 providing airflow   Any proposed definition         width of the outer surface of
 into the lower      would simply be a               the removable unit that
 shell”              reordering or restatement of    supplies air from outside the
                     plainly understood terms.       grill and into the lower shell
                                                     during cooking.

      This claim language as a whole is, again, readily understandable and does not

need clarification via claim construction. Terms such as “outer surface,” “opening”

and “into the lower shell” are ones that would be readily understood by a POSITA

and the jury. Accordingly, they need not be construed by the Court. See, e.g. U.S.

Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim



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construction is a matter of resolution of disputed meanings and technical scope, to

clarify and when necessary to explain what the patentee covered by the claims, for

use in the determination of infringement. It is not an obligatory exercise in

redundancy.”).

      That these terms require no construction is even clearer when viewed in the

full context of the claim. What follows is the full claim limitation with the three

phrases for which Premier requests construction underlined:

      wherein an outer surface of the removable unit defines at least one
      opening for providing airflow into the lower shell during cooking.

The word “opening” in the above quoted claim element is emphasized as it appears

in two of the phrases that Premier asserts require construction (“at least one opening”

and “opening for providing airflow…”).

      In short, the plain language of this claim element simply requires that: (1) the

removable unit have an outer surface; and (2) the outer surface of the removable unit

has at least one opening for providing airflow into the lower shell during cooking.

The claim language itself is sufficiently clear and does not require construction.

      Premier’s proffered constructions would improperly inject ambiguity and

confusion into this straightforward claim element. The claim language rewritten as

Premier requests it to be construed follows:




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      wherein an exterior boundary of the removable unit situated outside the
      lower shell defines an aperture through the width of the outer surface
      of the removable unit that supplies air from outside the grill and into
      the lower shell during cooking

      Further, the actual claim language at issue does not require that the “outer

surface” of the removable unit be “situated outside the lower shell” as Premier

proposes. Nothing in the intrinsic record contains an “expression[] of manifest

exclusion or restriction, representing a clear disavowal of claim scope” that would

support Premier’s construction. See Retractable Techs., 653 F.3d at 1306 (quoting

Epistar Corp. v. Int'l Trade Comm'n, 566 F.3d 1321, 1335 (Fed. Cir. 2009)).

      Premier’s litigation inspired construction should be rejected as it does not

reflect the plain and ordinary meaning of these straightforward limitations. No

construction is necessary to clarify the scope of these claim elements.

      F.     “external grip for slidably removing the removable unit from the
             grill”

   Phase 2’s Proposed Construction             Premier’s Proposed Construction
 No construction required.                   A handle located external to the grill
                                             when the removable unit is positioned
 If the Court determines that a              as intended within the grill.
 construction is necessary, the term
 should be given its plain and ordinary
 meaning:

 “a part that is configured to permit the
 user to grasp and pull the removable unit
 out of the grill”



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      This claim term appears in Claim 14, the pertinent language of which reads as

follows:

      The grill of claim 1, wherein:
      …
      the removable unit comprises an external grip for slidably removing the
      removable unit from the grill
      …

The plain language of this claim element requires simply that the “removable unit”

of claim 1 have an “external grip”—i.e. something the user can grasp—that can be

used to slide the “removable unit” out of the grill. The language is clear and no

construction is required. If the Court nevertheless determines that a construction is

required, then Phase 2 respectfully submits that the Court should adopt Phase 2’s

construction: “a part that is configured to permit the user to grasp and pull the

removable unit out of the grill.”

      Premier nevertheless seeks to inject additional limitations into this claim term.

Specifically, Premier asks the Court to limit this “external grip” to one that is located

“external to the grill when the removable unit is positioned as intended within the

grill.” There are no such location or temporal limitations in the claim and no basis

in the intrinsic record to inject them. Indeed, the only purported justification for

Premier’s assertion that these limitations should be injected into the claim is that

“the grip on the removable unit” in “Figs. 1, 2, 5, and 8” “extends beyond the outer


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surface of the lower shell.” Dkt. 39-2 at 15. That a particular embodiment in the

‘626 patent may have such a grip falls far short of an intentional disclaimer of the

plain and ordinary meaning of this claim term. See Cont’l Circuit., 915 F.3d at 979.

      G.    “a surface for receiving the removable unit which abuts a surface
            of the removable unit when the removable unit is in a closed
            position,” “beneath a vent cover,” “to cover or expose at least one
            portion of the at least one opening”

     Claim Term               Phase 2’s Proposed             Premier’s Proposed
                                Construction                    Construction
 “a surface for           No construction required.       An inner wall of the lower
 receiving the            Any proposed definition         shell touched by an outer
 removable unit which     would simply be a               surface of the removable
 abuts a surface of the   reordering or restatement of    unit when the removable
 removable unit when      plainly understood terms.       unit is positioned within
 the removable unit is                                    the lower shell for cooking
 in a closed position”
 “beneath a vent          No construction required.       Under a cover positioned
 cover”                   Any proposed definition         in alignment with the
                          would simply be a               opening in the outer
                          reordering or restatement of    surface of the removable
                          plainly understood terms.       unit when the removable
                                                          unit is located in the lower
                                                          shell
 “to cover or expose at   No construction required.       To selectively partially
 least one portion of     Any proposed definition         cover or uncover some, all
 the at least one         would simply be a               or none of the opening for
 opening”                 reordering or restatement of    providing airflow into the
                          plainly understood terms.       lower shell during cooking

      As an initial matter, these alternative limitations are not relied upon by Phase 2

to establish Premier’s infringement. Regardless, Premier requests that the Court


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construe them improperly in a way that adds numerous limitations not present in the

claims.

      For example, for a “surface for receiving the removable unit …,” Premier

seeks to inject limitations related to “an inner wall of the lower shell touched by an

outer surface of the removable unit.”

      Similarly, Premier offers a confusing construction—“Under a cover

positioned in alignment with the opening in the outer surface of the removable unit

when the removable unit is located in the lower shell”—of the readily understood

language “beneath a vent cover.” Premier also seeks to replace simple terms such

as “cover or expose” with “to selectively partially cover or uncover some, all or

none.” There is simply no basis to inject all of these additional and confusing words

and limitations into the claim as Premier requests. Doing so would not reflect the

plain and ordinary meaning of these readily understood terms.

VI.   CONCLUSION
      Premier’s proposed claim constructions should be rejected because they seek

to add improper limitations from the specification and other extraneous, unsupported

limitations into the asserted claims. The constructions proposed by Phase 2 are

consistent with the patent specification and file history, as well as the plain and

ordinary meaning of these claim terms, and so they should be adopted.



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Dated: October 25, 2021           Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I served all parties a true and correct copy

of PHASE 2, LLC’S OPENING CLAIM CONSTRUCTION BRIEF, which

has been prepared using 14-point Times New Roman font, by filing same with the

clerk of court using the CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record.

This 25th day of October, 2021.


                                                /s/ Michael J. Hartley
                                                Michael J. Hartley
                                                Pro Hac Granted




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                                APPENDIX A

    Claim Term                    Phase II’s Proposed Construction

Fire Bowl              No construction required.

Claims 1, 4, 14, 17,   If the Court determines that a construction is necessary,
20, 22                 the term should be given its plain and ordinary meaning:

                       “a vessel configured to hold charcoal or wood”

adapted to be spaced   No construction required.
inwardly from the
lower shell            If the Court determines that a construction is necessary,
                       the term should be given its plain and ordinary meaning:
Claim 1
                       “designed to be situated inside”

removable unit         No construction required.

Claims 1, 2, 14, 16,   If the Court determines that a construction is necessary,
18, 22                 the term should be given its plain and ordinary meaning:

                       “a piece that can be removed”

outer surface of the   No construction required. Any proposed definition would
removable unit         simply be a reordering or restatement of plainly
                       understood terms.
Claims 1, 16

at least one opening   No construction required. Any proposed definition would
                       simply be a reordering or restatement of plainly
Claims 1, 16           understood terms.

opening for providing No construction required. Any proposed definition would
airflow into the lower simply be a reordering or restatement of plainly
shell                  understood terms.

Claims 1, 16, 18


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    Claim Term                       Phase II’s Proposed Construction

during cooking           The construction of this claim term is not governed 35
                         U.S.C. § 112(6).
Claim 1
                         No construction required. Any proposed definition would
                         simply be a reordering or restatement of plainly
                         understood terms.



a surface for            No construction required. Any proposed definition would
receiving the            simply be a reordering or restatement of plainly
removable unit which     understood terms.
abuts a surface of the
removable unit           Phase 2 is not relying on this alternative limitation of
when the removable       claim 14 to establish infringement
unit is in a closed
position

Claim 14

external grip for     No construction required.
slidably removing the
removable unit from If the Court determines that a construction is necessary,
the grill             the term should be given its plain and ordinary meaning:

                         “a part that is configured to permit the user to grasp and
Claim 14
                         pull the removable unit out of the grill”

beneath a vent cover     No construction required. Any proposed definition would
                         simply be a reordering or restatement of plainly
Claim 16                 understood terms.

                         Phase 2 is not relying on this alternative limitation of
                         claim 16 to establish infringement




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    Claim Term                      Phase II’s Proposed Construction

to cover or expose at   No construction required. Any proposed definition would
least one portion of    simply be a reordering or restatement of plainly
the at least one        understood terms.
opening
                        Phase 2 is not relying on this alternative limitation of
Claim 16                claim 16 to establish infringement




                                       A-3
